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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------   x
 ALISON SCHLANGER,                                           :
                                                             :   COMPLAINT
                                        Plaintiff,           :
 - against -                                                 :   Jury Trial Demanded
                                                             :
 12710 KITCHEN CORP; JAGDEI                                  :
 THAKURDEEN; and JOHN DOE                                    :
 DEFENDANT NO 1,                                             :
                                                             :
                                        Defendants.          :
 ---------------------------------------------------------   x

        Plaintiff ALISON SCHLANGER, upon personal knowledge as to themselves and upon

information and belief as to other matters, hereby file this Complaint against defendants 12710

KITCHEN CORP; JAGDEI THAKURDEEN; and JOHN DOE DEFENDANT NO 1 and allege

as follows:

                                          NATURE OF THE ACTION

        1.        Defendants operate a restaurant and nightclub called Xscape NYC located at

12710 Liberty Ave, Queens, New York 11419.

        2.        Plaintiff states that pursuant to the Fair Labor Standards Act, as amended, 29

U.S.C. §§ 201 et. seq. (“FLSA”), that she is entitled to recover from Defendants: (1) unpaid

wages, including minimum wages and overtime; (2) unpaid wages, including overtime, due to

an invalid tip credit; (3) illegally retained gratuities; (4) liquidated damages; and (5) attorneys’

fees and costs.

        3.        Plaintiff further alleges that, pursuant to the New York Labor Law (“NYLL”),

she is entitled to recover from Defendants: (1) unpaid wages, including minimum wage and

overtime; (2) unpaid wages, including overtime, due to an invalid tip credit; (3) illegally

retained gratuities; (4) unpaid spread of hours premiums; (5) statutory penalties; (6) liquidated
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damages; and (7) attorneys’ fees and costs.

       4.      Plaintiff ALISON SCHLANGER also seeks damages for Defendants’ retaliatory

termination pursuant to the FLSA.

                                 JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction over Plaintiff’ federal claims pursuant

to the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”), and 28 U.S.C. §§ 1331 and

1337 and 1343 and has supplemental jurisdiction over Plaintiff’ state law claims pursuant to 28

U.S.C. § 1367(a).

       6.      Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. §

1391 because the Defendants maintain a place of business in this district and the majority of the

conduct making up the basis of the complaint took place in this district.

                                              PARTIES

       7.      At all relevant times, Plaintiff Schlanger is an adult individual, over 18 years old,

residing in Queens County and a citizen of New York.

       8.      The Defendants operate a restaurant under the trade name “Xscape NYC”

located at 12710 Liberty Ave, Queens, New York 11419.

       9.      Defendant 12710 KITCHEN CORP is listed in New York’s Department of State

Division of Corporation (“DOS”) records as a domestic business corporation with a service of

process address located at 12710 Liberty Avenue, South Richmond Hill, New York, 11419.

12710 KITCHEN CORP is the entity on Plaintiff’s pay stubs.

       10.     Individual Defendant Jagdei Thakurdeen is listed as the registered agent for

12710 Kitchen Corp in DOS records. Jagdei Thakurdeen’s signature is present on paychecks

retained by Plaintiff. Upon information and belief, Jagdei Thakurdeen is the principal owner of
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the Corporate Defendant and managed the restaurant along with her daughter and son. The

Individual Defendant exercises operational control as it relates to all employees including

Plaintiff. Individual Defendant exercises the power to (and also delegates to managers and

supervisors the power to) fire and hire employees, supervise and control employee work

schedules and conditions of employment, and determine the rate and method of compensation

of employees including those of Plaintiff.        At all times, employees could complain to the

Individual Defendant directly regarding any of the terms of their employment, and the

Individual Defendant would have the authority to effect any changes to the quality and terms of

employees’ employment, including changing their schedule, compensation, or terminating or

hiring such employees. Individual Defendant additionally exercises functional control over the

business and financial operations of Corporate Defendant. Individual Defendant ensures that

employees properly prepare food and effectively serve and cater to customers to ensure that the

Restaurant is operating efficiently and profitably.

       11.     John Doe Defendant No 1 is the individual defendant’s son. Plaintiff does not

currently know his full name and only knows that he is referred to as and responds to “Noah”.

Plaintiff intends to amend this complaint with his name as soon as it is known to them. John

Doe Defendant No 1 was in charge of hiring, supervision, and setting rate of pay and hours of

work for Plaintiff. He was also an owner of the restaurant and present at the business premises

in a managerial capacity on a day-to-day basis.

       12.     At all relevant times, the Corporate Defendant was and continues to be an

“enterprise engaged in commerce” within the meaning of the FLSA.

       13.     At all relevant times, the work performed by Plaintiff was essential to the

business operated by Defendants.
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                                    STATEMENT OF FACTS

       14.     In or around 16 October 2022, plaintiff Schlanger was hired by John Doe

Defendant No. 1 (“Noah”) and his mother, the Individual Defendant Jagdei Thakurdeen (also

known as “Ruby”), during a in-person interview to work as a kitchen prep and chef in the

kitchen of the restaurant “Xscape NYC” (the “Restaurant”), located at 12710 Liberty Avenue,

South Richmond Hill, New York, 11419.

       15.     Plaintiff Schlanger’s employment with Defendants ended on or around January

17, 2023.

       16.     During her employment, Plaintiff Schlanger is the only employee who works in

the kitchen of the Restaurant.

       17.     At all relevant times, there are about 6-7 employees in the restaurant.

       18.     When Schlanger started working, excepting working as a kitchen prep and chef

in the kitchen, Noah and Ruby also required her to be responsible for bartending, cross-training,

making drinks, serving customers, running tables, cleaning, taking orders, hosting and seating

customers, cleaning the restaurant after cleaning kitchen if busy and understaffed.

       19.     For the first week of her employment, plaintiff Schlanger worked seven days and

she worked from 5:30 p.m. to 4:00 a.m., approximately 73.50 hours for the first week.

       20.     Then, plaintiff Schlanger started working a fixed schedule of five days a week,

from Wednesday to Sunday, from about 6:00 p.m. to between 4:00 a.m. and 4:30 a.m. for each

day.

       21.     During her employment, plaintiff Schlanger was paid approximately $720-725

per week for five shifts.

       22.     During her employment, plaintiff Schlanger was paid by check each week.
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       23.     During her employment, plaintiff Schlanger did not clock in and out to track her

work hours because Defendants failed to set up a clock-in app for Schlanger.

       24.     Plaintiff Schlanger observed that the Restaurant would automatically charge

customers 30% of the bills as service fee.

       25.     At all relevant times throughout her employment, Plaintiff Schlanger received no

tips even though she would serve customers. It is unknown at this time whether Defendant

claimed tip credits.

       26.     It is Plaintiff Schlanger’s understanding that she was paid at a lower minimum

wage rate typically only paid to customer service employees who receive customer tips.

       27.     Before her termination, Plaintiff Schlanger complained to the Individual

Defendant Jagdei Thakurdeen (also known as “Ruby”) that she was not paid any tips and paid

below minimum wages. The next day, Ruby texted her and said “we don’t need your help” and

then she was terminated.

       28.     Plaintiff Schlanger also complained to defendant Noah via phone about her

underpaid wages and unpaid tips.

       29.     At all relevant times during her employment, Defendants failed to pay Plaintiff

Schlanger the required overtime rate of time and one-half, despite the fact that she regularly

worked between 60 and 70 hours per week.

       30.     At all relevant times during Plaintiff Schlanger’s employment, Defendants failed

to provide her with an annual wage notice or period wage statements that accurately reflected

her rate of pay, her pay days, and her hours.

       31.     Despite regularly working more than 10 hours in a given workshift and being

paid at or below the minimum wage, Plaintiff never received the required spread of hours pay of
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one additional hour’s pay at the applicable minimum wage.

       32.    Because of Defendants’ improper compensation policies, Plaintiff was deprived

of pay, in direct violation of the FLSA and NYLL.

       33.    This pattern of conduct was continuous throughout Plaintiff’s employment.

       34.    Defendants’ unlawful conduct has been widespread, repeated, and consistent.

       35.    In the case of Plaintiff Schlanger, Defendants failed to pay her the required

spread of hours pay for days when she worked more than ten hours in a single workshift.

       36.    By implementing the above policies affecting all of their hourly employees,

Defendants knowingly and willfully operated their business with a policy of not paying their

employees in an amount sufficient to compensate Plaintiff and other similarly situated

employees for all amounts due under the New York State minimum wage, the FLSA overtime

laws (of time and one-half), the New York State overtime laws (of time and one-half), New

York spread of hours pay, and New York uniform maintenance pay in direct violation of the

FLSA and New York Labor Law and the supporting federal and New York State Department of

Labor Regulations.

       37.    Defendants did not furnish Plaintiff with accurate statements with every payment

of wages, listing gross wages, deductions and net wages as required by New York Labor Law §

195.

       38.    Plaintiff reserves the right to amend this complaint once the wage and hour

records that are required to be kept under the FLSA and NYLL and information regarding

Defendants’ corporate and franchise ownership structure is produced by Defendants during

discovery.
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                                   STATEMENT OF CLAIM
                                 COUNT I: FLSA - Unpaid Wages

        39.    Plaintiff realleges and re-avers each and every allegation and statement

contained in paragraphs above of this Complaint as if fully set forth herein.

        40.    At all relevant times, upon information and belief, Defendants were and continue

to be an employer engaged in interstate commerce and/or the production of goods for commerce

within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a). Further, Plaintiff are covered

individuals within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

        41.    At all relevant times, Defendants employed Plaintiff within the meaning of the

FLSA.

        42.    Upon information and belief, at all relevant times, Defendants have had gross

revenues in excess of $500,000.

        43.    At all relevant times, Defendants had a policy and practice of refusing to pay

Plaintiff for all hours, including overtime wages.

        44.    At all relevant times, Defendants had a policy and practice of failing to pay the

statutory proper wage to Plaintiff for their hours worked, including overtime. Defendants were

also not entitled to claim any tip credits under the FLSA.

        45.    At all relevant times, Defendants showed a willful disregard for the provisions of

the FLSA to Plaintiff by instituting an illegal tip pooling scheme in which managers who did

not directly service customers retained a portion of the tips in the tip pool.

        46.    At all relevant times, Plaintiff suffered from Defendants’ retention of gratuities.

Defendants’ managers collected and pocketed all tips received.

        47.    At all relevant times, Defendants had a policy and practice of failing to pay

Plaintiff the full amount of wages due, including overtime under the FLSA.
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       48.     Records, if any, concerning the number of hours worked by Plaintiff and the

actual compensation paid to Plaintiff should be in the possession and custody of Defendants.

Plaintiff intends to obtain these records by appropriate discovery proceedings to be taken

promptly in this case and, if necessary, will then seek leave from the Court to amend this

Complaint to set forth the precise amount due.

       49.     Defendants failed to properly disclose or apprise Plaintiff of their rights under

the FLSA. As a direct and proximate result of Defendants’ willful disregard of the FLSA,

Plaintiff are entitled to liquidated damages pursuant to the FLSA.

       50.     Due to the intentional, willful, and unlawful acts of Defendants, Plaintiff

suffered damages in an amount not presently ascertainable of unpaid wages, including overtime,

due to time shaving, unpaid wages, including overtime, due to an invalid tip credit, damages

representing disgorgement of illegally retained gratuities, plus an equal amount as liquidated

damages.

       51.     Plaintiff is entitled to an award of their reasonable attorneys’ fees and costs

pursuant to 29 U.S.C. § 216(b).

                               COUNT II: NYLL - Unpaid Wages

       52.     Plaintiff realleges and re-avers each and every allegation and statement

contained in paragraphs above of this Complaint as if fully set forth herein.

       53.     At all relevant times, Plaintiff was employed by Defendants within the meaning

of NYLL §§ 2 and 651.

       54.     At all relevant times, the Defendants had a policy and practice of refusing to pay

Plaintiff for all of their hours worked, including overtime.

       55.     Defendants willfully violated Plaintiff’s rights by failing to pay them proper
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wages in the lawful amount for hours worked. Defendants were not entitled to claim any tip

credits.

           56.    Defendants willfully violated Plaintiff’s rights by instituting an illegal tip

pooling scheme in which Plaintiff were required to share tips with managers who did not

directly service customers. In doing so, Defendants willfully deprived Plaintiff of their lawfully

earned wages.

           57.    Defendants knowingly and willfully operated their business with a policy of not

providing proper wage statements as required under the NYLL because such tip credit

allowance was never clearly included in wage statements to tipped employees for each payment

period. Defendants also provided fraudulent wage statements that failed to accurately reflect

the number of hours worked and their proper compensation, including tips illegally withheld

from Plaintiff.

           58.    At all relevant times, Defendants had a policy of failing to pay Plaintiff the full

amount of wages due, including overtime, under the NYLL.

           59.    Defendants willfully violated Plaintiff rights by failing to pay “spread of hours”

premiums to them for each workday that exceeded ten (10) or more hours.

           60.    Defendants knowingly and willfully operated their business with a policy of not

providing all non-exempt employees proper wage notices at the time of hiring and annually

thereafter, as required under the NYLL.

           61.    Due to Defendants’ NYLL violations, Plaintiff are entitled to recover from

Defendants unpaid wages, including overtime, due to time shaving, unpaid wages, including

overtime, due to an invalid tip credit, damages representing disgorgement of illegally retained

gratuities, unpaid spread of hours premium, reasonable attorneys’ fees, liquidated damages
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 damages, statutory penalties and costs and disbursements of the action, pursuant to NYLL.

       COUNT III: NYLL - Failure to Provide Wage Notice and Wage Statements


        62.     Plaintiff realleges and re-avers each and every allegation and statement

 contained in paragraphs above of this Complaint as if fully set forth herein.

        63.     Defendants have willfully failed to supply Plaintiff wage notices, as required by

 NYLL, Article 6, § 195(1), in English or in the language identified by Plaintiff as their primary

 language, containing Plaintiff’s rate or rates of pay and basis thereof, whether paid by the hour,

 shift, day, week, salary, piece, commission, or other; hourly rate or rates of pay and overtime

 rate or rates of pay if applicable; the regular pay day designated by the employer in accordance

 with NYLL, Article 6, § 191; the name of the employer; any "doing business as" names used by

 the employer; the physical address of the employer's main office or principal place of business,

 and a mailing address if different; the telephone number of the employer; plus such other

 information as the commissioner deems material and necessary.

        64.     Through their knowing or intentional failure to provide Plaintiff with the wage

 notices required by the NYLL, Defendants have willfully violated NYLL, Article 6, §§ 190 et

 seq., and the supporting New York State Department of Labor Regulations.

        65.     Defendants have willfully failed to supply Plaintiff with accurate statements of

 wages as required by NYLL, Article 6, § 195(3), containing the dates of work covered by that

 payment of wages; name of employee; name of employer; address and phone number of

 employer; rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week,

 salary, piece, commission, or other; gross wages; hourly rate or rates of pay and overtime rate or

 rates of pay if applicable; the number of hours worked, including overtime hours worked if

 applicable; deductions; and net wages.
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         66.     Through their knowing or intentional failure to provide Plaintiff with the

 accurate wage statements required by the NYLL, Defendants have willfully violated NYLL,

 Article 6, §§ 190 et seq., and the supporting New York State Department of Labor Regulations.

         67.     Due to Defendants’ willful violations of NYLL, Article 6, § 195(1), Plaintiff is

 entitled to statutory penalties of fifty dollars each day that Defendants failed to provide Plaintiff

 with wage notices, or a total of five thousand dollars each, reasonable attorneys' fees, costs, and

 injunctive and declaratory relief, as provided for by NYLL, Article 6, § 198(1-b ).

         68.     Due to Defendants’ willful violations of NYLL, Article 6, § 195(3), Plaintiff are

 entitled to statutory penalties of two hundred fifty dollars for each workweek that Defendants

 failed to provide Plaintiff with accurate wage statements, or a total of five thousand dollars

 each, reasonable attorneys' fees, costs, and injunctive and declaratory relief, as provided for by

 NYLL, Article 6, §198(1-d).

                          COUNT IV: FLSA – Retaliatory Termination


         69.     Plaintiff Alison Schlanger re-alleges and re-avers each and every allegation and

 statement contained in paragraphs above of this Complaint as if fully set forth herein.

         70.     Defendants violated FLSA § 215 when they terminated Plaintiff Alison

 Schlanger’s employment in retaliation for complaining about unpaid wages and illegally

 retained gratuities.

         71.     Defendants are therefore liable to Plaintiff Alison Schlanger for damages under

 FLSA § 215.

                                       PRAYER FOR RELIEF

 WHEREFORE, Plaintiff ALISON SCHLANGER respectfully request that this Court grant

 the following relief:
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   i.      A declaratory judgment that the practices complained of herein are unlawful under

           the FLSA and the NYLL;

   ii.     An injunction against Defendants and their officers, agents, successors, employees,

           representatives and any and all persons acting in concert with them as provided by

           law, from engaging in each of the unlawful practices, policies and patterns set forth

           herein;

   iii.    An award of unpaid wages, including overtime, due under the FLSA and the NYLL;

   iv.     An award equal to the amount of the improperly retained tips withheld by

           Defendants;

   v.      An award of unpaid spread of hours premiums due under the NYLL;

   vi.     An award of statutory penalties as a result of Defendants failure to comply with

           NYLL wage notice and wage statement requirements;

   vii.    An award of liquidated and/or punitive damages as a result of Defendants’ willful

           failure to pay proper wages pursuant to 29 U.S.C. § 216;

   viii.   An award of liquidated and/or punitive damages as a result of Defendants’ willful

           failure to pay proper wages pursuant to the NYLL;

   ix.     An award of damages for Defendants’ retaliatory termination against her, including

           backpay, frontpay, compensatory damages for pain and suffering, punitive damages,

           liquidated damages, statutory penalties, prejudgment interest, and attorneys’ fees

           and costs;

   x.      An award of prejudgment and postjudgment interest, costs and expenses of this

           action together with reasonable attorneys’ fees and expert fees and statutory

           penalties;
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   xi.    Such other and further relief as this Court determines to be just and proper.

                                         JURY DEMAND

   Pursuant to FRCP 38 the Plaintiff demands trial by jury on all issues.

   Dated: New York, New York
          October 9, 2023                       LAW OFFICE OF MOHAMMED GANGAT


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